      Case: 1:23-cv-03053 Document #: 142 Filed: 08/25/23 Page 1 of 2 PageID #:6371



                                   UNITED STATES OF AMERICA
                                  FEDERAL TRADE COMMISSION
                                    WASHINGTON, D.C. 20580




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 Bureau of Competition
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                                                                      August 25, 2023


  By ECF

  Honorable John F. Kness
  Everett McKinley Dirksen United States Courthouse
  219 South Dearborn Street
  Chicago, IL 60604

  RE:       Federal Trade Commission, et al. v. Amgen Inc., et al., No. 23-cv-03053 (N.D. Ill.)

  Dear Judge Kness:

  I write on behalf of Plaintiffs and Defendants in the above-referenced action to request that the
  Court schedule a telephonic preliminary pre-trial/status conference during the week of August
  28th in order to address certain issues concerning scheduling and presentation of evidence. If
  convenient for the Court, the parties can be available for such a telephonic preliminary pre-trial
  conference on Tuesday, August 29th or Wednesday, August 30th. The parties have agreed that, in
  advance of the conference, and no later than 10 a.m. Central Time on Monday, they will each file
  a Statement not to exceed 7 double-spaced pages, addressing each party’s position regarding the
  following issues for the Court’s consideration during the conference:

       1. The schedule for and anticipated length of the evidentiary hearing, which the parties
          agree should begin no earlier than September 13.
       2. The date/time for the final pretrial conference, and date for submission of proposals
          regarding a final pretrial order.
       3. Whether the parties can cite in post-trial findings to testimony that was taken during
          investigational hearings or depositions and was not designated in advance of trial or
          presented to the Court during the evidentiary hearing.
       4. Whether Plaintiffs may present rebuttal witnesses following the close of Defendants’
          case.
       5. Page limits on post-trial proposed findings of fact and conclusions of law.
       6. Numerical limits on the number of exhibits.

  Thank you for your consideration of and attention to this matter.
   Case: 1:23-cv-03053 Document #: 142 Filed: 08/25/23 Page 2 of 2 PageID #:6372

August 25, 2023
Page 2

                                                   Respectfully submitted,

                                                   /s/ Noel Miller
                                                   Noel Miller
                                                   Counsel for Plaintiff Federal Trade
                                                   Commission

Copy to:
All counsel of record (via ECF)
